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FLP LAW GROUP LLP

Facsimile:

In re

SHAMICKA LAWRENCE,

Se 6:23-bk-15163-WJ Doc1i0 Filed 11/17/23 Entered 11/17/23 15:44:45 Desc
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UNITED STATE BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

RIVERSIDE DIVISION
) Case No. 6:23-bk-15163-WJ

Chapter 7

Debtor.
STATEMENT OF RELATED CASES;
SUMMARY OF SCHEDULES;
SCHEDULES A-J; DECLARATION
CONCERNING DEBTOR’S
SCHEDULES; STATEMENT OF
FINANICAL AFFAIRS; DEBTOR’S
ATTORNEY’S DISCLOSURE OF
COMPENSATION ARRANGEMENT IN
INDIVIDUAL CHAPTER 7 CASE (2090-
1(a)(3)); DISCLOSURE OF
COMPENSATION OF ATTORNEY
FOR DEBTORS; CHAPTER 7
STATEMENT OF YOUR CURRENT
MONTHLY INCOME; STATEMENT
OF EXEMPTION FROM
PRESUMPTION OF ABUSE UNDER
§707(b)(2); AND STATEMENT OF
INTENTION FOR INDIVIDUALS
FILING UNDER CHAPTER 7

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STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LBR 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property

included in Schedule A/B that was filed with any such prior proceeding(s).)

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in contro! of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list

Now real property included in Schedule A/B that was filed with any such prior proceeding(s).)

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
such prior proceeding, date filed, nature-of proceeding, the Bankruptcy Judge and court to whom assigned, whether
still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule

N AJB that was filed with any such prior proceeding(s).)
one

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
that was filed with any such prior proceeding(s).)

None
| declare, under penalty of perjury, that the foregoing is true and correct. Uo .
Executed at Riverside , California. —— —
~~ Shamicka Lawrence
Date: November __, 2023 Signature of Debtor 1
Signature of Debtor 2

This form is mandatory, Ht has been approved for use in the Uniled States Bankruptcy Court for the Central District of BR

Cabfomia.
October 2018 Page 1 F 1016-2.1.STMT.RELATED.CASES
000001
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ILM Tamale Malo dtar-licelsmcom(e(-nldin me cele lamer= tio

Debtor 4 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(if known) OO Check if this is an

amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B............ccccescsssessesssesesseseseeesesssensessnseesrssaserersnsserseesenenenesnsneneees $ 600,000.00
1b. Copy line 62, Total personal property, from SCHEDUIC AVB....cscssssssssssscsesssssssssesssssnssnesesnsasssseesececuusssseesesussan $ 128,785.63
1c. Copy line 63, Total of all property on Schedule A/B........cccscsesesseseesesesssseasesssesseceessssesessesteseessseesensanensssseceneanenees $ 728,785.63

Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 248,226.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.........ccccceseeerees $ 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EVP... $ §,969,825.68

Your total liabilities | $ 6,218,051.68
Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 Of SCHECUE 1... seeceecessssccscenesssseneeseseessesesenessenenssntsseensnensseeernes $ 7,649.52
5. Schedule J: Your Expenses (Official Form 106J) $ 17,428.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
C1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

MH Yes
7. What kind of debt do you have?

© Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Mi Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
4122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

9a. Domestic support obligations (Copy line

6a.) . " $

9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

$
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
$

9d. Student loans. (Copy line 6f.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through 9f. $
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Debtor 1 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ OO Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

+. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

D1 No. Go to Part 2.
WH ves. Where is the property?

1.1 What is the property? Check all that apply
Resence tes Court HE Single-family home Do not deduct secured claims or exemptions. Put
states Cou ‘unit buildi the amount of any secured claims on Schedule D:
Duplex or multi-unit buildin * y .
Street address, if available, or other description oO P —. 9 Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
. . Current value of the Current value of the
Riverside CA 92503-0000 (Land entire property? portion you own?
City State ZIP Code C1 Investment property $1,200,000.00 $600,000.00
Cl Timeshare Describe the nature of your ownership interest
O other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one _—@ life estate), if known.
OC pebtor 4 ont Co-tenancy (See attachment A/B
ry
Riverside OC bebtor 2 only
County 1 pdebtor 1 and Debtor 2 ont
eprer ore only oO Check if this is community property
Hl Atleast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

136-050-035-9

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here =>

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$600,000.00

Official Form 106A/B Schedule A/B: Property page 1
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In re Shamicka Lawrence

Attachment to Schedule A/B

1.1 Debtor owns 50% of her principal residence. The 50% is held by a third party trust for
the benefit of her adult children Debtor’s estimate of value is based on her personal
knowledge of the properties and her understanding of other property values in the

neighborhood.
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

O No
Yes
Do not deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

3.1 Make: Mercedes
Model: G-Wagon

Who has an interest in the property? Check one
D Debtor 1 only

Year: 2021 CT Debtor 2 only Current value of the Current value of the
Approximate mileage: 17,198 D1 Debtor 4 and Debtor 2 only entire property? portion you own?
Other information: Hl At least one of the debtors and another
Co-owned with Coastal

$120,000.00 $60,000.00

Massage Oxnard Inc. which
made down payment.

D check if this is community property
(see instructions)

3.2 Make: Tesla

Who has an interest in the property? Check one

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Model: X O Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 2022 CO Debtor 2 only Current value of the Current value of the
Approximate mileage: 15,150 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: ll at least one of the debtors and another
Down payment and monthly
payments made by Coastal CO Check if this is community property $80,000.00 $40,000.00
Massage Oxnard, Inc. {see instructions)
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

BNo

O Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for $100,000.00
pages you have attached for Part 2. Write that number here => aca

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CO No
M Yes. Describe.....

$10,000.00

| Misc. household goods and furnishings.

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment, computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games
ONo

Ml Yes. Describe.....

| Television, computer, printer and cellphone. $2,500.00

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
Mi No

Official Form 106A/B Schedule A/B: Property page 2
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D Yes. Describe.....
9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments
OO No

Ml Yes. Describe.....

| Exercise equipment, including bicycle and eliptical. $2,000.00

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

ONo
M@ Yes. Describe.....

| Miscellaneous fireams. $1,400.00
11. Clothes
Examples: Everyday clothes, furs, feather coats, designer wear, shoes, accessories
ONo
B Yes. Describe.....
| Women's everyday clothing, shoes and purses. $5,000.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

OO No
lM Yes. Describe.....

Rings, bracelets, watch, necklaces (itemization on request). $4,500.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses

ONo
Ml Yes. Describe.....

[2 rescued dogs (Bob & Checha) | $1.00

14. Any other personal and household items you did not already list, including any health aids you did not list
Bi No
OD Yes. Give specific information...

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 401.00
for Part 3. Write that number here $25,401.

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

ONo

Official Form 106A/B Schedule A/B: Property page 3
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Cash $0.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

OC No

Wh 68... ecesssesssseessees institution name:
17.1. Checking Navy Federal Bank Acct. No. 0991 $0.00
17.2. Checking Bank of America Acct. No. 4024 . $486.00
17.3. Brokerage UBS Bank Acct. No. 5650 $398.62
17.4. Savings Navy Federal Bank Acct. No. 8957 $0.01

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Hi No
O Yes. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

No
Ml Yes. Give specific information about them.................
Name of entity: % of ownership:
See attachment No. 19 % $0.00

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo
C1 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Hi No

OD Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
YES. oocccccccccsceees Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
HI No
DO Yes............. Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HiNo
Official Form 106A/B “Schedule A/B: Property page 4
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Attachment B19

THE LAWRENCE-RELATED ENTITIES

1. Joyfully Gifted, Inc. (“Joyfully Gifted”), Debtor owns 100% of Joyfully Gifted.
This entity owes $150,000 to the Small Business Administration (“SBA”) and about

$500,000 to its unsecured creditors. This entity has a Bank of America bank account
No. 9744 with about $2,000 in it. This entity owns 100% of the following 4 entities:
a. Beautiful Girls, LLC, dba Massage Envy. This entity no longer operates.
It has a Bank of America bank account No. 8732 with $234 in it. It owes
$500,000 to the SBA and about $80,000 in back rent.
b. Faith Page LLC, dba Massage Envy. This entity no longer operates. It has

a Bank of America bank account No. 8761 with $123 in it. It owes
$500,000 to the SBA and about $60,000 in back rent.

c. Trinity Fifteen, LLC, dba Massage Envy. This entity no longer operates.
It has a Bank of America bank account No. 8729 with about $2,000 in it.
It owes over $600,000 to the SBA and about $260,000 in back rent.

d. Eleven Eight, LLC, dba Massage Envy. This entity continues to operate a

single franchise at a loss. It has a Bank of America bank account No.
8745 with $4,500 in it. It owes over $500,000 to the SBA.

2. West Coast Baby, LLC, dba Massage Envy. Debtor owns 100% of West Coast
Baby, LLC. This entity ceased operating in March 2020 its only location in Westlake
Village, CA. It has no revenues. Its bank account is closed (overdrawn), and it is being
sued by its former landlord to whom it may owe hundreds of thousands of dollars. It

owes about $300,000 to the SBA.

3. Lawrence Girls, LLC, dba Massage Envy Debtor owns 100% of Lawrence

Girls, LLC. This entity ceased operating in about May 2021 its only location in West
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Hollywood, CA. It has no revenues. Its bank account has been closed (overdrawn). It

owes $12,000 to the SBA.

4. Coastal Massage Ventura, Inc., dba Massage Envy Debtor owns 100% of

Coastal Massage Venture, Inc. This entity ceased operating in June 2023 its only
location in Ventura, CA. It has not revenues. Its bank account is closed (overdrawn). It

owes $500,000 to the SBA and $23,000 to its former landlord.

5. Joyful Wellness, LLC, dba Massage Envy. Debtor owns 100% of Joyful
Wellness, LLC. This entity ceased operating in about August 2023 its only location in
Simi Valley, CA. It has no revenues. Its bank account is closed (overdrawn). It owes

$500,000 to the SBA. It owes its former landlord an undetermined amount.

6. West Coast Queens, LLC, dba Massage Envy. Debtor owns 100% of West

Coast Queens, LLC. This entity ceased operating in about October 2022 its only location
in Agoura Hills, CA. It has no revenues. Its bank account is closed (overdrawn). It has

no debt.

7. Coastal Massage Oxnard, Inc., dba Massage Envy Debtor owns 100% of Coastal

Massage Oxnard, Inc. This entity continues to operate a single franchise in Oxnard, CA
at aloss. It has a Bank of America bank account No. 5489 with $10,000 in it. It owes
$500,000 to the SBA. It has three years left on its lease.

8. Coastal Massage Channel Islands Harbor, Inc., dba Massage Envy Debtor owns

100% of Coastal Massage Channel Islands Harbor, Inc. This entity continues to operate
a single franchise in Camarillo, CA at a loss. It has a Bank of America bank account

No. 5502 with $5,000 in it. It owes $500,000 to the SBA. Its lease expires in 2025.

9. 5077 Lankershim Health Associates, LLC, dba Massage Envy. Debtor owns
100% of 5077 Lankershim Health Associates, LLC. This entity continues to operate a
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single franchise at a loss in North Hollywood, CA. It has a Bank of America bank

account No. 8656 with $3,000 in it. It has no creditors. Its lease expires in 2027.
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Ol Yes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HM No
D Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royatties and licensing agreements

HI No
Cl Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Mi No
C Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
HNo
O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support .
Examples: Past due or lump sum alimony, spousal support, chiid support, maintenance, divorce settlement, property settlement

HNo
0 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

HNo
(Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

DNo

@ Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

The Equitable Life Insurance Company Children $2,500.00

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

HNo
O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Mi No
C Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Hi No

(Yes. Describe each claim.........

Official Form 106A/B Schedule A/B: Property page 5
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Debtor1 Shamicka Lawrence Case number (if known)

35. Any financial assets you did not already list

C) No

Wl Yes. Give specific information.

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Debtor has personally guaranteed certain obligations of her
limited liability companies and corporations (the "Entities").
As guarantor, she has indeminty rights against the Entities.
However, each of the Entities is insolvent such that her
indemnity rights have no value.

$0.00

36. Add the dollar value of alt of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here.

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

$3,384.63

37. Do you own or have any legal or equitable interest in any business-related property?
WH No. Go to Part 6.

O Yes. Go to line 38.

[cua Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
I No. Go to Part 7.
DO ves. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

MI No
O Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here

List the Totals of Each Part of this Form

$0.00

55. Part 1: Total real estate, line 2
56. Part 2: Total vehicles, line 5 $100,000.00
57. Part 3: Total personal and household items, line 15 $25,401.00
58. Part 4: Total financial assets, line 36 $3,384.63
59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61 $128,785.63 Copy personal property total

63. Total of all property on Schedule A/B. Add line 55 + line 62

Official Form 106A/B Schedule A/B: Property

$600,000.00

$128,785.63

$728,785.63

page 6
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ILM IAmARcMlatcoleiiCchicesimcemie(citidia me cele mer-tlom

Debtor 1 Shamicka Lawrence

First Name / Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(if known) OO Check if this is an

amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
WI You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description ofthe property,and line on: ." Current value ofthe Specific. laws that allow exemptio
“Schedule A/B that lists 7 peition yo Phar
: “ Copy the valu

:Schedule A/B =

Residence 11364 Estates Court $600,000.00 C.C.P. § 704.730
Riverside, CA 92503 Riverside
County B® 100% of fair market value, up to

136-050-035-9 any applicable statutory limit
Line from Schedule A/B: 1.1

2021 Mercedes G-Wagon 17,198 $60,000.00 C.C.P. § 704.010
miles
Co-owned with Coastal Massage M 100% of fair market value, up to
Oxnard Inc. which made down any applicable statutory limit
payment.

Line from Schedule A/B: 3.1

2022 Tesla X 15,150 miles $40,000.00 C.C.P. § 704.010
Down payment and monthly

payments made by Coastal Massage HM 100% of fair market value, up to

Oxnard, Inc. any applicable statutory limit

Line from Schedule A/B: 3.2

Misc. household goods and $10,000.00 C.C.P. § 704.020
furnishings.
Line from Schedule A/B: 6.1 HM 100% of fair market value, up to

any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Debtor 1

Case 6:23-bk-15163-WJ

Shamicka Lawrence

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Case number (if known)

Brief description of the prope
Schedule A/B that lists this.p

and line on

rty

__ Current value of the
portion you own:

Amount of the exemption you claim -

6:23-bk-15163-WJ

_, “Specific laws that allow exemption

Copy the value ftom Check onlyone box for each exemption. = uo
: Schedule A/B " oe . ,

Television, computer, printer and $2,500.00 C.C.P. § 704.020
cellphone.
Line from Schedule A/B: 7.1 M = 100% of fair market value, up to

any applicable statutory limit
Exercise equipment, including $2,000.00 C.C.P. § 704.020
bicycle and eliptical.
Line from Schedule A/B: 9.1 HM 100% of fair market value, up to

any applicable statutory limit
Miscellaneous fireams. $1,400.00 Oo C.C.P. § 704.020
Line from Schedule A/B: 10.1

HE 100% of fair market value, up to

any applicable statutory limit
Women's everyday clothing, shoes $5,000.00 C.C.P. § 704.020
and purses.
Line from Schedule A/B: 11.1 Mi 100% of fair market value, up to

any applicable statutory limit
Rings, bracelets, watch, necklaces $4,500.00 oO C.C.P. § 704.040
(itemization on request).
Line from Schedule A/B: 12.1 Mi 100% of fair market value, up to

any applicable statutory limit
Checking: Bank of America Acct. No. $486.00 $486.00 ©.C.P. § 704.225
4024 -
Line from Schedule A/B: 17.2 CO 400% of fair market value, up to

any applicable statutory limit
Brokerage: UBS Bank Acct. No. 5650 $398.62 li $398.62 C.C.P. § 704.225
Line from Schedule A/B: 17.3

1 100% of fair market value, up to

any applicable statutory limit
Savings: Navy Federal Bank Acct. $0.01 $0.01 ©.C.P. § 704.225
No. 8957
Line from Schedule A/B: 17.4 Oo

100% of fair market value, up to
any applicable statutory limit

3.

Official Form 106C

Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

@ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

O No
HM No
O Yes

Schedule Cc: The Property You Claim as Exempt

page 2 of 2
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Debtor 1 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ

(if known)

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

DD Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).
1. Do any creditors have claims secured by your property?

C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

@ Yes. Fill in all of the information below.
List All Secured Claims

2. List all secured claims. !f a creditor has more than one secured claim, list the creditor separately Column A Column B Column C
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
21 Mercedes - Benz
‘' | Financial Services Describe the property that secures the claim: $144,226.00 $120,000.00 $24,226.00
Creditor’s Name 2021 Mercedes G-Wagon 17,198
miles
Co-owned with Coastal Massage
Oxnard Inc. which made down
Attn: Bankruptcy payment.
P.O. Box 685 as of the date you file, the claim is: Check all that
Roanoke, TX 76262 CO Contingent
Number, Street, City, State & Zip Code oO Unliquidated
C1 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
HH pebtor 1 only Ban agreement you made (such as mortgage or secured
C1 debtor 2 only car loan)
OD Debtor 1 and Debtor 2 only D0 Statutory lien (such as tax lien, mechanic's lien)
DAt least one of the debtors and another Judgment lien from a lawsuit
C1 Check if this claim relates to a O other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2
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Debtor1 Shamicka Lawrence Case number (if known) 6:23-bk-15163-WJ
First Name Middle Name Last Name
2.2 | U.S. Bank Describe the property that secures the claim: $104,000.00 $80,000.00 $24,000.00
Creditor's Name 2022 Tesla X 15,150 miles

Down payment and monthly
payments made by Coastal

Massage Oxnard, Inc.
As of the date you file, the claim is: Check ail that

PO Box 2188 appl.
Oshkosh, WI 54903 CJ contingent
Number, Street, City, State & Zip Code oO Unliquidated
CO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
D1 Debtor 1 only Clan agreement you made (such as mortgage or secured
CZ Debtor 2 only car loan)
DO Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
I At least one of the debtors and another [1 Judgment lien from a lawsuit
OO check if this claim relates to a Ml other (including a right to offset) Auto Loan (Debtor holds legal title w/ Coastal Massage
community debt Oxnard, Inc.)
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $248,226.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: , $248,226.00

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additiona! persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2
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Debtor 1 Shamicka Lawrence

First Name Middie Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: | CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)

6:23-bk-15163-WJ

OO Check if this is an
amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1.

Do any creditors have priority unsecured claims against you?
Hl No. Go to Part 2.
D yes.

List All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you?

D no. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes.

List afl of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority

unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured claims fill out the Continuation Page of

Part 2.
Total claim
41 14652-8 Ventura, LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
17245 Luverne PI. When was the debt incurred?
Encino, CA 91316
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CD Debtor 1 only a Contingent
C1 Debtor 2 only WI Uniiquidated
C1 Debtor 1 and Debtor 2 only O pisputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a. community CI student loans
debt QO Obligations arising out of a separation agreement or divorce that you did not
!s the claim subject to offset? report as priority claims
a No O Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 14652
Ventura Blvd., Sherman Oaks, CA 91403
Dyes a Other. Specify (Business).
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 30

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Debtor1 Shamicka Lawrence

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Case number (if known) 6:23-bk-15163-WJ

ADT - Attn. Bankruptcy Last 4 digits of accountnumber 2171 $56.15
Nonpriority Creditor's Name
1501 W. Yamato Rd. When was the debt incurred?
Boca Raton, FL 33431
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only contingent
D Debtor 2 only CO unliquidated
O Debtor 4 and Debtor 2 only I pisputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community CO student loans
debt D obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D Debts to pension or profit-sharing plans, and other similar debts
= __ Services rendered to Massage Envy
0 Yes Other. Specify Palmdale; scheduled for notice purposes.
4.3 | ADT - Attn. Bankruptcy Last 4 digits of account number 2229 $56.15
Nonpriority Creditor's Name
1501 W. Yamato Rd. When was the debt incurred?
Boca Raton, FL 33431
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HE Debtor 1 only contingent
D1 debtor 2 only C unliquidated
OC Debtor 1 and Debtor 2 only I Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a. community C student ioans
debt CZ) obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ho D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Massage Envy -
Sherman Oaks; scheduled for notice
O Yes a Other. Specify purposes.
44 ADT - Attn. Bankruptcy Last 4 digits of account number 2114 $56.15

Nonpriority Creditor’s Name
1501 W. Yamato Rd.
Boca Raton, FL 33431

Number Street City State Zip Code
Who incurred the debt? Check one.

Mt pebtor 1 only

CO Debtor 2 only

CO Debtor 4 and Debtor 2 only

DO At least one of the debtors and another

U1 Check if this claim is for a community
debt

Is the claim subject to offset?

Mi No

0 Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

D unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
D student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D pebts to pension or profit-sharing plans, and other similar debts

__ Services rendered to Massage Envy -
WF other. Specify Valencia; scheduled for notice purposes.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Shamicka Lawrence

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45 | ADT - Attn. Bankruptcy Last 4 digits of account number 3003 $819.97
Nonpriority Creditor's Name
1501 W. Yamato Rd. When was the debt incurred?
Boca Raton, FL 33431
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HH Debtor 1 only a Contingent
D Debtor 2 only CZ unliquidated
OD Debtor 1 and Debtor 2 only a Disputed
[1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No OC debts to pension or profit-sharing plans, and other similar debts
= Services rendered to Massage Envy -

C1 Yes Other. Specify Ventura; scheduled for notice purposes.

| 46 | American Express Last 4 digits of account number 4005 $3,402.00
Nonpriority Creditor's Name
clo Becket and Lee When was the debt incurred?
Po Box 3001
Malvern, PA 19355
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BB debtor 4 only oO Contingent
O Debtor 2 only © unliquidated
CZ Debtor 1 and Debtor 2 only D pisputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C1 student loans
debt D obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No DO pebts to pension or profit-sharing plans, and other similar debts
CO Yes @ other. specify

| 47 American Express Last 4 digits of account number 1003 $13,736.57

Nonpriority Creditor's Name
clo Becket and Lee
Po Box 3001
Malvern, PA 19355

Number Street City State Zip Code
Who incurred the debt? Check one.

Q Debtor 4 only
D Debtor 2 only
CZ Debtor 1 and Debtor 2 only

Hl At least one of the debtors and another

O Check if this claim is fora community
debt

Is the claim subject to offset?

Hino

Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
C1 uniiquidated

D0 Disputed
Type of NONPRIORITY unsecured claim:

OC Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of business credit card
other. Specify for Joyfully Gifted, Inc.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Shamicka Lawrence

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| 4.8 Aqua Clear, inc. Last 4 digits of account number 5374 $339.51
Nonpriority Creditor's Name
1235 Flyn Rd. #408 When was the debt incurred?
Camarillo, CA 93012
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 4 only Contingent
1 Debtor 2 only OD unliquidated
CJ Debtor 4 and Debtor 2 only Bi Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community CI student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo D debts to pension or profit-sharing plans, and other similar debts

Services rendered Massage Envy -
Sherman Oaks; scheduled for notice

O yes BF other. Specify purposes.

4.9 Aqua Clear, Inc. Last 4 digits of accountnumber 5366 $285.50
Nonpriority Creditor's Name
1235 Flyn Rd. #408 When was the debt incurred?
Camarillo, CA 93012
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W bebtor 1 only a Contingent
debtor 2 only 0 unliquidated
CI Debtor 1 and Debtor 2 only HH pisputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a community Cl student loans
debt CT Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo DO Debts to pension or profit-sharing plans, and other similar debts

a __ Services rendered to Massage Envy -

CO Yes Other. Specify Palmdale; scheduled for notice purposes.

44

0 Aqua Clear, Inc. Last 4 digits of account number 5291 $330.50

Nonpriority Creditor's Name
1235 Flyn Rd. #408
Camarillo, CA 93012

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

CO Debtor 2 only

CZ Debtor 1 and Debtor 2 only

DI At least one of the debtors and another

DO check if this claim is fora community
debt

Is the claim subject to offset?

HI No

OF Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

OD unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
CD student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

__ Services rendered to Massage Envy -
i other. Specify Valencia; scheduled for notice purposes.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Shamicka Lawrence

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41
1 AT&T Last 4 digits of accountnumber 5908 $0.00
Nonpriority Creditor's Name
P.O. Box 5014 When was the debt incurred?
Carol Stream, IL 60197-5014
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Debtor 1 only i contingent
C1 Debtor 2 only C1 unliquidated
C1 Debtor 1 and Debtor 2 only C pisputed
BF Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0) Debts to pension or profit-sharing plans, and other similar debts
= Services rendered to Beauitful Girls, LLC;
C1 Yes Other. Specify g¢cheduled for notice purposes.
44
2 AT&T Last 4 digits of account number 5902 $0.00
Nonpriority Creditor's Name
P.O. Box 5014 When was the debt incurred?
Carol Stream, IL 60197-5014
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O vebtor 1 only a Contingent
C1 Debtor 2 only 0 unliquidated
CZ Debtor 1 and Debtor 2 only C1 Disputed
@ At ieast one of the debtors and another Type of NONPRIORITY unsecured claim:
UO Check if this claim is fora community O Student ioans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No D1 Debts to pension or profit-sharing plans, and other similar debts
= Services rendered to Trinity Fifteen, LLC;
C1 Yes Other. Specify scheduled for notice purposes.
41
3 AT&T Last 4 digits of account number $0.00
Nonpriority Creditor's Name
P.O. Box 5014 When was the debt incurred?

Carol Stream, IL 60197-5014

Number Street City State Zip Code
Who incurred the debt? Check one.

O Debtor 1 only
D Debtor 2 only
C Debtor 1 and Debtor 2 only -

Bat least one of the debtors and another

D1 Check if this claim is for a community
debt

Is the claim subject to offset?

HNo

O ves

As of the date you file, the claim is: Check all that apply

a Contingent
0 unliquidated

C1 Disputed
Type of NONPRIORITY unsecured claim:

DO Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

__ Services rendered to Coastal Massage
other. Specify Ventura; scheduled for notice purposes.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Shamicka Lawrence Case number (if known) 6:23-bk-15163-WJ

41 va:
4 Avalon Bay Communities, Inc. Last 4 digits of account number $0.00
Nonpriority Creditors Name
PO Box 215568 When was the debt incurred?
Tampa, FL 33622
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D1 Debtor 4 only I Contingent
C1 vebtor 2 only i Uniiquidated
C1 Debtor 1 and Debtor 2 only CZ Disputed
Wl Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is for a community CI student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No C1 pebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 5077
Lankershim Blvd., North Hollywood, CA
DO Yes I other. Specify (Business).
41 .
5 Bank of America, N.A. Last 4 digits of accountnumber 1448 $23,798.00
Nonpriority Creditor's Name
Opened 10/09/01, Last used
PO Box 15168 When was the debt incurred? approx. 06/2023
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml Debtor 1 only a Contingent
O Debtor 2 only Oo Unliquidated
O Debtor 1 and Debtor 2 only C1 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNno CO Debts to pension or profit-sharing plans, and other similar debts
O Yes Wl other. specify Personal guaranty of Business Credit Card.
4.4 .
6 Bank of America, N.A. Last 4 digits of account number 8588 $25,110.21

Nonpriority Creditor's Name
PO Box 15168
Wilmington, DE 19850-5168

Number Street City State Zip Code
Who incurred the debt? Check one.

D Debtor 1 only
O Debtor 2 only
D1 Debtor 1 and Debtor 2 only

i at least one of the debtors and another

DO Check if this claim is for a community
debt

Is the claim subject to offset?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
C1 unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

DO student loans

oD Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

Hino CO Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of business credit card
O ves other. Specify for Joyfully Gifted, Inc.

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Schedule E/F: Creditors Who Have Unsecured Claims

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41 .
7 Bank of America, N.A. Last 4 digits of account number 1077 $23,306.97
Nonpriority Creditor's Name
PO Box 15168 When was the debt incurred?
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 1 only I contingent
O Debtor 2 only D unliquidated
(1 Debtor 1 and Debtor 2 only O Disputed
I At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
DO check if this claim is for a community D Student loans .
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BI No O Debts to pension or profit-sharing plans, and other similar debts
__ Personal guaranty of business credit card
O Yes MI other. Specify for Joyful Wellness LLC.
41 .
8 Bank of America, N.A. Last 4 digits of account number 2206 $18,409.32
Nonpriority Creditor's Name
PO Box 15168 When was the debt Incurred?
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D Debtor 1 only Mi contingent
C1 Debtor 2 only 0 unliquidated
C1 Debtor 4 and Debtor 2 only CO Disputed
At ‘east one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 cheek if this claim is for a community C student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino DO Debts to pension or profit-sharing plans, and other similar debts
= __ Personal guranty of business credit card
O Yes Other. Specify for Beautiful Girls, LLC .
44 .
9 Bank of America, N.A. Last 4 digits of account number 3802 $18,400.00

Nonpriority Creditor's Name
PO Box 15168
Wilmington, DE 19850-5168

Number Street City State Zip Code
Who incurred the debt? Check one.

D Debtor 1 only
OD Debtor 2 only
DC Debtor 1 and Debtor 2 only

@ At least one of the debtors and another

CO cheek if this claim is for a community
debt

Is the claim subject to offset?

HNno

CI Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
DO unliquidated

Cl Disputed
Type of NONPRIORITY unsecured claim:

DO Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of business credit card
M other. Specify for Eleven Eight, LLC.

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4.2 .
0 Bank of America, N.A. Last 4 digits of account number 5959 $17,015.53
Nonpriority Creditor's Name
PO Box 15168 When was the debt incurred?
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 bebtor 4 only a Contingent
Cl Debtor 2 only CO unliquidated
C2 Debtor 1 and Debtor 2 only CO Disputed
Wl at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO) check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No OD Debts to pension or profit-sharing plans, and other similar debts
= Personal guaranty of business credit card
Yes Other. Specify for West Coast Baby, LLC.
4.2 .
4 Bank of America, N.A. Last 4 digits of account number 6471 $11,966.92
Nonpriority Creditor's Name
PO Box 15168 When was the debt incurred?
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only a Contingent
C1 Debtor 2 only D unliquidated
C1) Debtor + and Debtor 2 only O Disputed
@ at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is fora community C1 student loans
debt D obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo CD Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of business credit card
O ves M other. Specify for Faith Page, LLC.
42 :
2 Bank of America, N.A. Last 4 digits of accountnumber 7535 $13,541.31

Nonpriority Creditor's Name
PO Box 15168
Wilmington, DE 19850-5168

Number Street City State Zip Code
Who incurred the debt? Check one.

0 Debtor 4 only
CO debtor 2 only
D Debtor 1 and Debtor 2 only

a At least one of the debtors and another

© Check if this claim is for a community
debt

Is the claim subject to offset?

RB no

D yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
oO Unliquidated

OD pisputed
Type of NONPRIORITY unsecured claim:

OD Student loans

CZ Obtigations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of business credit card
MI other. Specify for Trinity Fifteen, LLC.

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4.2 .
3 Bank of America, N.A. Last 4 digits of account number 0355 $0.00
Nonpriority Creditor's Name
PO Box 15168 When was the debt incurred?
Wilmington, DE 19850-5168
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only i Contingent
C1 Debtor 2 onty C1 unliquidated
Cl Debtor 1 and Debtor 2 only O pisputea
@ at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community C1) student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of Alaska Airlines
business credit card for Joyfully Gifted,

0 Yes , MF other. Specify LLC.
4.2 .
4 Beauchamp Family LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
10700 Santa Monica Blvd., Suite 215 |= When was the debt incurred?
Los Angeles, CA 90025
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. .
O Debtor 1 only a Contingent
CI Debtor 2 only WB Unliquidated
CZ Debtor 1 and Debtor 2 only O Disputed
@ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community CI student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D pebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 1348-A North
Moorpark Road, Thousand Oaks, CA
Oo Yes a Other. Specify (Business).
4.2 .
5 Bridgeport Marketplace, LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
25134 Rye Canyon Loop, #300 When was the debt incurred?
Valencia, CA 91355
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only B contingent
D Debtor 2 only ME Unliquidated
C1 Debtor 1 and Debtor 2 only CO disputed
WW At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community CJ student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE no D pebts to pension or profit-sharing plans, and other similar debts

Personal guaranty of lease for 23957

Newhall Ranch Road, Valencia, CA 91355
O Yes a Other. Specify (Business).

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42 .
6 Capital One N.A Last 4 digits of accountnumber 2896 $0.00
Nonpriority Creditor's Name
Bankruptcy Department When was the debt incurred?
P.O. Box 5155
Norcross, GA 30091
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 4 only I contingent
OD Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only C1 pisputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C1 student loans
debt CD obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EENo OD Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of business Credit Card
O Yes HM other. Specity for Joyfully Gifted, Inc.
4.2 . .
7 Capital One/Neiman Marcus/ Last 4 digits of accountnumber 5631 $12,461.00
Nonpriority Creditor's Name
Bergdorf Goodm Opened 2/27/04 Last used
Attn: Bankruptcy When was the debt incurred? 05/2023
Po Box 30285
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WS pebtor 1 only O Contingent
D Debtor 2 only Oo Unliquidated
C1 Debtor 1 and Debtor 2 only D Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No C1 Debts to pension or profit-sharing plans, and other similar debts
‘Dyes Mother. Specify Charge Account (Personal)
4.2 .
8 Chase Card Services Last 4 digits of account number 8272 $7,890.00

Nonpriority Creditor's Name
Attn: Bankruptcy

P.O. 15298
Wilmington, DE 19850

Number Street City State Zip Code
Who incurred the debt? Check one.

Bi pebtor 1 only

CQ Debtor 2 only

OD Debtor 1 and Debtor 2 only

DO Atleast one of the debtors and another

0 Check if this claim is fora community
debt
Is the claim subject to offset?

BM No
O Yes

When was the debt incurred?

Opened 09/18 Last used 2023

As of the date you file, the claim is: Check all that apply

a Contingent
oO Unliquidated

OD disputed
Type of NONPRIORITY unsecured claim:

D Student loans

DO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

I other. specify Personal guaranty of Business Credit Card.

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Schedule E/F: Creditors Who Have Unsecured Claims

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4.2 .
9 City of Los Angeles Last 4 digits of account number 0014 $6,860.63
Nonpriority Creditor's Name
Office of Finance When was the debt incurred?
PO Box 53233
Los Angeles, CA 90053-0233
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CO nebtor 1 only a Contingent
O Debtor 2 only (2 unliquidated
CZ Debtor 1 and Debtor 2 only I pisputed
I At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community D Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No CD Debts to pension or profit-sharing plans, and other similar debts
. Estimated Taxes for Beautiful Girls LLC
C1 Yes Other. Specify (Business); scheduled for notice purposes.
4.3 .
0 City of Ventura Last 4 digits of account number $0.00
Nonpriority Creditors Name
Business Tax Office When was the debt incurred?
501 Poli St., Rm 107
Ventura, CA 93001
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C Debtor 4 only contingent
D) Debtor 2 only O unliquidated
DZ Debtor 1 and Debtor 2 only C1 Disputed
BB At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo OD Debts to pension or profit-sharing plans, and other similar debts
O Yes Ml other. Specify Scheduled for notice purposes.
43
1 County of Los Angeles Last 4 digits of accountnumber 4746 $725.13

Nonpriority Creditors Name

Dept. of Treasurer & Tax Collector

PO Box 514818
Los Angeles, CA 90051-4818

Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

CO Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

0 Check if this claim is for a community
debt

Is the claim subject to offset?

Bo

O Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

OC unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
D student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OC Debts to pension or profit-sharing plans, and other similar debts

_ Tax for Beautiful Girls LLC (Business);
M other. Specify scheduled for notice purposes.

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43 Donahue Schriber Realty Group,
2 L.P. Last 4 digits of account number $0.00
Nonpriority Creditor's Name
200 E. Baker St., Suite 100 When was the debt incurred?
Costa Mesa, CA 92626
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CZ Debtor 1 only a Contingent
OC Debtor 2 only MB Unliquidated
C1 Debtor 1 and Debtor 2 only CO pisputea
¥ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community CI student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 2360 Las
Posas Road, Suite G, Camarillo, CA
Ol yes Hi other. Specify (Business).
43 .
3 Essex Monarch Santa Monica Last 4 digits of account number $0.00
Nonpriority Creditor's Name
Apartments, L.P. When was the debt incurred?
1100 Park Pl., Ste. 200
San Mateo, CA 94403
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
OD Debtor 1 only i contingent
CZ) Debtor 2 only  Untiquidated
D1 Debtor 1 and Debtor 2 only C pisputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is for a community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no D Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 7111 Santa
Monica Bivd., Site D, West Hllywood, CA
Dyes Hi other. Specify 90046 (Business).
4 Frontier Last 4 digits of account number 5125 :
Nonpriority Creditor's Name
PO Box 211579 When was the debt incurred?
Eagan, MN 55121-2879
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O pebtor 1 only a Contingent
O Debtor 2 only 0 unliquidated
CO Debtor 1 and Debtor 2 only CO Disputed
ll at least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is for a community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Byno O Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Coastal Massage
O yes i other. Specify Oxnard; scheduled for notice purposes.
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43 .
5 Frontier Last 4 digits of account number 6095 $0.00
Nonpriority Creditor's Name
PO Box 211579 When was the debt incurred?
Eagan, MN 55121-2879
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OD Debtor 1 only Hi Contingent
C1 Debtor 2 only CD unliquidated
DC Debtor 1 and Debtor 2 only oO Disputed
W@ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is for a community C1) student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno 0 betts to pension or profit-sharing plans, and other similar debts
Services rendered to Coastal Massage
Channel Islands Harbor; scheduled for
Oo Yes a Other. Specify notice purposes.
43 .
6 Frontier Last 4 digits of account number 5205 $0.00
Nonpriority Creditor's Name
PO Box 211579 When was the debt incurred?
Eagan, MN 55121-2879
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CI Debtor 4 only I Contingent
C1 Debtor 2 only C1 unliquidated
C1 Debtor 4 and Debtor 2 only DQ Disputed
Wl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 check if this claim is for a community CI student loans
debt © obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hl No CO Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Eleven Eight, LLC;
O ves IM other. Specify scheduled for notice purposes.
43
7 Glen March Last 4 digits of account number’ $120,000.00
Nonpriority Creditor's Name
1 Century Dr., #32A When was the debt incurred? 2017
Los Angeles, CA 90067
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W pebtor 4 only D contingent
CO) Debtor 2 only DZ unliquidated
C1 Debtor 1 and Debtor 2 only C1 Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino 0 Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify Loan (Personal)
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4.3
8 Golden Spectrum Property, LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
4016 Grand ave., Suite B When was the debt incurred?
Chino, CA 91710
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only a Contingent
D Debtor 2 only H Unliquidated
C1 Debtor 1 and Debtor 2 only CO disputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community CI student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No D bebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 39445 10th
Street W., Space E-5, Palmdale, CA 93551
Oo Yes a Other. Specify (Business).
43 .
9 Lumen/Cenury Link Last 4 digits of account number 7840 $451.40
Nonpriority Creditor's Name
PO Box 52187 When was the debt incurred?
Phoenix, AZ 85072-2187
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only BB Contingent
Ci pebtor 2 only D unliquidated
D Debtor 1 and Debtor 2 only I pisputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is for a community D1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mi No D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Faith Page, LLC;
CI Yes I other. Specify scheduled for notice purposes.
4.4 .
0 Macerich Buenaventura L.P. Last 4 digits of account number $0.00
Nonpriority Creditor's Name
401 Wilshire Bivd., Suite 700 When was the debt incurred?
Santa Monica, CA 90401
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OC debtor 1 only a Contingent
D bebtor 2 only BB unliquidated
CZ Debtor 1 and Debtor 2 only CO pisputea
Wl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno D Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for Space No.
O Yes Mother. Specify E5, Pacific View (Business).
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44 ar
1 Massage Envy Franchising, LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
14350 N. 87th Street When was the debt incurred?
Suite 200
Scottsdale, AZ 85260
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WF pebtor 1 only CO Contingent
C1 debtor 2 onty D unliquidated ,
CO Debtor + and Debtor 2 only a Disputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student toans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D1 Debts to pension or profit-sharing plans, and other similar debts
C1 yes J other. Specity For Notice purposes
4.4
2 Na Shaun Neal Last 4 digits of account number $0.00
Nonpriority Creditors Name
3756 Santa Rosalia Dr., Suite 326 When was the debt incurred?
Los Angeles, CA 90008
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check one.
Wi debtor 1 only 0 Contingent
O Debtor 2 only D unliquidated
D1 Debtor 1 and Debtor 2 only D pisputea
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C check if this claim ts for a community C student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No CZ Debts to pension or profit-sharing plans, and other similar debts
Dyes Wi other. Specify
4.4 . .
3 Navy Federal Credit Union Last 4 digits of accountnumber 9578 $16,817.00

Nonpriority Creditor’s Name
Attn: Bankruptcy
Po Box 3000
Merrifield, VA 22119

Number Street City State Zip Code
Who incurred the debt? Check one.

Hl pebtor 1 only

C1 Debtor 2 only

DZ Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

D1 Check if this claim is for a community
debt

Is the claim subject to offset?
Bi no
OD Yes

When was the debt incurred?

Opened 09/21 Last 4/23

As of the date you file, the claim is: Check all that apply

oO Contingent
D Unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

DO student toans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

@ other. specify Credit Card (personal)

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4.4
4 Regus Last 4 digits of accountnumber 6131 $455.81
Nonpriority Creditor's Name
11801 Pierce Street When was the debt incurred?
Suite 200
Riverside, CA 92505
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi pebtor 1 only I contingent
CO debtor 2 only 0 unliquidated
CD Debtor 1 and Debtor 2 only a Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO check if this claim is for a community CJ student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No O Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Lawrence Girls, LLC
___and Joyful Wellness, LLC; scheduled for
OO yYes MI other. Specify notice purposes
44
5 Regus Last 4 digits of account number 3841 $0.00

Nonpriority Creditor’s Name
11801 Pierce Street
Suite 200

Riverside, CA 92505

Number Street City State Zip Code
Who incurred the debt? Check one.

@ pebtor 1 only

D debtor 2 only

D Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

CO Check if this claim is fora community
debt

Is the claim subject to offset?

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply

a Contingent

DO unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
D) student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

HNo D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Beauitful Girls, LLC;
C1 Yes MI other. Specify scheduled for notice purposes.

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

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44
6 Regus Last 4 digits of accountnumber 6126 $0.00
Nonpriority Creditor's Name
11801 Pierce Street When was the debt incurred?
Suite 200
Riverside, CA 92505
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I debtor 4 only Contingent
D Debtor 2 only D unliquidated
CO Debtor 1 and Debtor 2 only I pisputed
DO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community CI student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BE No O Debts to pension or profit-sharing plans, and other similar debts

Services rendered to Coastal Massage
Oxnard and Costal Massage Ventura;

OQ Yes MI other. Specify ‘scheduled for notice purposes.
44
7 Regus Last 4 digits of account number 6123 $0.00

Nonpriority Creditor's Name

11801 Pierce Street When was the debt incurred?

Suite 200

Riverside, CA 92505

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

Ht Debtor 1 only HH Contingent

C1 pebtor 2 only D1 unliquidated

CO Debtor 1 and Debtor 2 only a Disputed

Dt least one of the debtors and another Type of NONPRIORITY unsecured claim:

OC check if this claim is for a community C1 Student loans

debt DO obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

B no D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Coastal Massage
Channel Islands Harbor and West Coast
Queens, LLC; scheduled for notice

0 Yes HM other. Specify purposes.

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Debtor? Shamicka Lawrence Case number (if known) 6:23-bk-15163-WJ
4.4
8 Regus Last 4 digits of account number 6006 $0.00
Nonpriority Creditor's Name
11801 Pierce Street When was the debt incurred?
Suite 200
Riverside, CA 92505
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 4 only contingent
1 Debtor 2 only CZ unliquidated
O Debtor 1 and Debtor 2 only ® pisputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is for a community D Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D debts to pension or profit-sharing plans, and other similar debts

Services rendered to Eleven Eight, LLC and
West coast Baby, LLC; scheduled for

0 Yes a Other. Specify notice purposes.
4.4
9 Regus Last 4 digits of account number 6138 $0.00
Nonpriority Creditor's Name
11801 Pierce Street When was the debt incurred?
Suite 200
Riverside, CA 92505
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B Debtor 1 only BE Contingent
Debtor 2 only D unliquidated
D1 Debtor 1 and Debtor 2 only @ pisputed

Type of NONPRIORITY unsecured claim:
T Student loans

D Atleast one of the debtors and another
O check if this claim is for a community

debt D obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi No CZ Debts to pension or profit-sharing plans, and other similar debts

Services rendered to Trinity Fifteen, LLC
and Faith Page, LLC; scheduled for notice
D Yes a Other. Specify purposes.

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4.5 . .
0 ROIC California LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name
MS 631099 When was the debt incurred?
PO Box 3953
Seattle, WA 98124-3953
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CZ Debtor 1 only CO contingent
C1 Debtor 2 only CJ untiquidated
(Debtor 1 and Debtor 2 only O Disputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C Check if this claim is for a community C1 student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino OC Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of lease for 3835 E. To
Bivd. Unit A1, Westlake Village, CA 91362
oO Yes a Other. Specify (Business).
4.5 .
1 Safe and Sound Security Last 4 digits of account number 9722 $0.00
Nonpriority Creditor’s Name
18545 Topham Street When was the debt incurred?
Unit G
Reseda, CA 91335
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& Debtor 1 only @ Contingent
C pebtor 2 only D unliquidated
DO Debtor 1 and Debtor 2 only I Disputed
D) At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CZ check if this claim is for a community D Student loans
debt ‘ oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
Alarm System for Joyful Wellsness LLC;
DO Yes I other. Specify scheduled for notice purposes.
4.5 se
2 Simi Gold Center Last 4 digits of account number $0.00

Nonpriority Creditor's Name
292 S. La Cienega Blvd., #3308
Beverly Hills, CA 90211

Number Street City State Zip Code

Who incurred the debt? Check one.

Wl pebtor 1 only

D Debtor 2 only

D Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

0 check if this claim is for a community
debt
Is the claim subject to offset?

HE No

C1 yYes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

HF unliquidated

0 Disputed

Type of NONPRIORITY unsecured claim:
OD Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
D Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of lease for 1263 Simi
Town Center Way, #H7, Simi Valley, CA
MI other. Specify 93065 (Business).

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4.5 soe

3 Siria Amador Last 4 digits of account number $0.00
Nonpriority Creditors Name
clo Nick Badii When was the debt incurred?
Lawyers for Employee & Consumer
3500 West Olive Ave., 3rd Floor
Burbank, CA 91505
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only O Contingent
O Debtor 2 only a Unliquidated
D1 Debtor 1 and Debtor 2 only WI pisputed
DAtleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OD Cheek if this claim is for a community C1 student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO Debts to pension or profit-sharing plans, and other similar debts
CO Yes ll other. Specify Scheduled for notice purposes.

4.5 . woe .

4 Small Business Administration Last 4 digits of accountnumber 7401 $150,000.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CI Debtor 1 only HH contingent
C1 Debtor 2 only 1 unliquidated
CZ Debtor 1 and Debtor 2 only D pisputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl check if this claim is for a community C] student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNo O Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of SBA - EIDL Loan for

D Yes MI other. Specify Joyfully Gifted, Inc. (Business).

45 . ee .

5 Small Business Administration Last 4 digits of account number 7800 $500,000.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only I contingent
CD Debtor 2 only DC unliquidated
CO Debtor 1 and Debtor 2 only O pisputed
Il at least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community CI student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D Debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of SBA - EIDL Loan for
O ves M other. Specify Beautiful Girls, LLC (Business).
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4.5 . woe .
6 Small Business Administration Last 4 digits of accountnumber 7405 $500,000.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Debtor 4 only I contingent
[1 Debtor 2 only DO unliquidated
CZ Debtor 1 and Debtor 2 only C1 disputed
Wl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is for a community C1 student loans
debt C1] obligations arising out of a separation agreement or divorce that you did not
\s the claim subject to offset? report as priority claims
Bi No D pDetts to pension or profit-sharing plans, and other similar debts
= ___ Personal guaranty of SBA - EIDL Loan for
C1 Yes Other. Specify Faith Page, LLC (Business).
4.5 . se .
7 Small Business Administration Last 4 digits of accountnumber 7404 $825,400.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check alt that apply
Who incurred the debt? Check one.
W pebtor 1 only a Contingent
DO Debtor 2 only D unliquidated
OC Debtor 1 and Debtor 2 only O pisputed
(Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is for a community CO) student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No D Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - EIDL Loan for
O yes Mi Other. Specify Trinity Fifteen, LLC (Business).
4.5 : es .
8 Small Business Administration Last 4 digits of account number 7407 $336,600.00

Nonpriority Creditor's Name
409 3rd Street SW
Washington, DC 20024

Number Street City State Zip Code
Who incurred the debt? Check one.

O Debtor 1 only
CO Debtor 2 only
CO Debtor 1 and Debtor 2 only

Wl At least one of the debtors and another

C1 Check if this claim is fora community
debt

Is the claim subject to offset?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
D unliquidated

DO Disputed
Type of NONPRIORITY unsecured claim:

CZ student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

Hi No CJ pebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - EIDL Loan for
0 Yes MI other. Specify Eleven Eight, LLC (Business).

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4.5 . os .
9 Small Business Administration Last 4 digits of account number 7405 $233,600.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
oO Debtor 1 only i Contingent
O Debtor 2 only CZ unliquidated
C Debtor 1 and Debtor 2 only Ci pisputed
@ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D Check if this claim is fora community C1 student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? teport as priority claims
No D betts to pension or profit-sharing plans, and other similar debts
= __ Personal guaranty of SBA - EIDL Loan for
O Yes Other. Specify West Coast Baby, LLC(Business).
46 . oe .
0 Small Business Administration Last 4 digits of accountnumber 7408 $12,500.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
OD Debtor 1 only I contingent
O Debtor 2 only D unliquidated
CZ Debtor 1 and Debtor 2 only C pisputed
@ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community CI student loans
debt C2 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BB No D Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - EIDL Loan for
O yes MI other. Specify Lawrence Girls, LLC (Business).
46 . woe .
1 Small Business Administration Last 4 digits of account number 7810 $500,000.00

Nonpriority Creditor's Name
409 3rd Street SW
Washington, DC 20024

Number Street City State Zip Code
Who incurred the debt? Check one.

DO bebtor 1 only

D Debtor 2 only

O Debtor 1 and Debtor 2 only

¥ At least one of the debtors and another

01 Cheek if this claim is for a community
debt
Is the claim subject to offset?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
0 unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

DO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

a O Debts to pension or profit-sharing plans, and other similar debts
No

Personal guaranty of SBA - EIDL Loan for
C] Yes Mother. Specify Coastal Massage Ventura, Inc. (Business).

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Schedule E/F: Creditors Who Have Unsecured Claims

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4.6 . ee .
2 Small Business Administration Last 4 digits of account number 7405 $500,000.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
& pebtor 1 only a Contingent
CZ Debtor 2 only D unliquidated
CD Debtor 1 and Debtor 2 only DO pisputed
7 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
DO) check if this claim is for a community C student ioans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hno D Debts to pension or profit-sharing plans, and other similar debts
= __ Personal guaranty of SBA - EIDL Loan for
0 Yes Other. Specify Joyful Wellness, LLC (Business).
46 . oe .
3 Small Business Administration Last 4 digits of account number 7407 $694,900.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
oO Debtor 1 only i Contingent
C1 Debtor 2 only D unliquidated
C] Debtor 1 and Debtor 2 only C1 pisputed
HH At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CZ check if this claim is for a community C1 student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi No D Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - EIDL Loan for
D Yes MI other. Specify Coastal Massage Oxnard, Inc. (Business).
46 . ee :
4 Small Business Administration Last 4 digits of account number 7804 $500,000.00

Nonpriority Creditor's Name
409 3rd Street SW
Washington, DC 20024

Number Street City State Zip Code
Who incurred the debt? Check one.

O Debtor 1 onty
CZ Debtor 2 only
OD Debtor 1 and Debtor 2 only

i At least one of the debtors and another

D Check if this claim is for a community
debt

Is the claim subject to offset?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
oO Unliquidated

O disputed
Type of NONPRIORITY unsecured claim:

CO Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

Hino O Debts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - EIDL Loan for
Coastal Massage Channel Islands Harbor,
oO Yes a Other. Specify Inc. (Business).

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46 . oe .
5 Small Business Administration Last 4 digits of accountnumber 7308 $67,131.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
DO Debtor 4 only Mi contingent
C1 Debtor 2 only DO unliquidated
CT] Debtor 1 and Debtor 2 only CO pisputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No CD debts to pension or profit-sharing plans, and other similar debts
= __ Personal guaranty of SBA - PPP Loan for
OC Yes Other. Specify Beautiful Girls, LLC (Business).
46 . es .
6 Small Business Administration Last 4 digits of account number 7702 $25,461.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CO pebtor 1 only a Contingent
O debtor 2 only C unliquidated
C1 Debtor 1 and Debtor 2 only C pisputed
WH At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CD check if this claim is for a community O Student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No OO pebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - PPP Loan for
OD Yes B other. Specify Joyfully Gifted, LLC(Business).
46 : os .
7 Small Business Administration Last 4 digits of account number 7409 $94,901.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D debtor 4 only a Contingent
CI Debtor 2 only D unliquidated
C1 Debtor 1 and Debtor 2 only CZ pisputed
I At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community C) student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
BE No D pebts to pension or profit-sharing plans, and other similar debts
Personal guaranty of SBA - PPP Loan for
O Yes HM other. Specify Trinity Fifteen, LLC (Business).
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46 . we .
8 Small Business Administration Last 4 digits of account number 7804 $85,649.00
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D1 Debtor 1 only contingent
CI Debtor 2 only CO unliquidated
C1 Debtor 4 and Debtor 2 only C1 pisputed
WE At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a. community C1 student loans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE no O Debts to pension or profit-sharing plans, and other similar debts
= __ Personal guaranty of SBA - PPP Loan for
O Yes Other. Specify Lawrence Girls, LLC (Business).
46 . ee .
9 Small Business Administration Last 4 digits of account number 7808 $2,464.64
Nonpriority Creditor's Name
409 3rd Street SW When was the debt incurred?
Washington, DC 20024
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. /
D bebtor 1 only a Contingent
C1 Debtor 2 only 1 unliquidated
CZ Debtor 1 and Debtor 2 only CZ disputed
BB At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
BNo OD Debts to pension or profit-sharing plans, and other similar debts
= __ Personal guaranty of SBA - PPP Loan for
O Yes Other. Specify West Coast Baby, LLC (Business).
47
0 SOCM I, LLC Last 4 digits of account number $0.00
Nonpriority Creditor's Name

655 Brea Canyon Rd.
Walnut, CA 91789

Number Street City State Zip Code
Who incurred the debt? Check one.

O Debtor 1 only
CO Debtor 2 only
OD Debtor 1 and Debtor 2 only

Hl At least one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?

Mino

Dyes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

BB unliquidated

OI Disputed

Type of NONPRIORITY unsecured claim:
D Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
Zl debts to pension or profit-sharing plans, and other similar debts

Personal guaranty of lease for 655 Town
Center Dr., Suite 2200, Oxnard, CA 93036
a Other. Specify (Business).

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1 Southern Cal Gas Last 4 digits of account number 8824 $875.59
Nonpriority Creditor's Name
PO Box C When was the debt incurred?
Monterey Park, CA 91756
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only HI Contingent
Debtor 2 only CD unliquidated
OD Debtor 1 and Debtor 2 only a Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a. community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No D pebts to pension or profit-sharing plans, and other similar debts
Services rendered to Coastal Massage
Ventura, LLC; scheduled for notice
Dyes MI other. Specify purposes.
47 ; .
2 Spectrio Last 4 digits of account number 0100 $0.00
Nonpriority Creditor's Name
PO Box 890271 When was the debt incurred?
Charlotte, NC 28289-0271
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 4 only Hi Contingent
C1 Debtor 2 only C1 uniiquidated
D Debtor 1 and Debtor 2 only i pisputed
CD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community CI student loans
debt D1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to West Hollywood -
Lawrence Girls; scheduled for notice
DO Yes a Other. Specify purposes.
47
3 Strategem Investments, LLC Last 4 digits of account number $600,000.00

Nonpriority Creditor's Name
410 S. Juanita Avenue
Redondo Beach, CA $0277

Number Street City State Zip Code
Who incurred the debt? Check one.

MB Debtor 1 only

O Debtor 2 only

DZ Debtor 1 and Debtor 2 only

DO Atleast one of the debtors and another

D Check if this claim is for a. community
debt

Is the claim subject to offset?
Bo
0D Yes

When was the debt incurred? 2017-2018

As of the date you file, the claim is: Check all that apply

Oo Contingent

0 unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
OC student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO pebts to pension or profit-sharing plans, and other similar debts

@ other. Specify For notice purposes. (Glen March related)

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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47 .
4 The Darvish Firm, APC Last 4 digits of account number $4,051.72
Nonpriority Creditor's Name
12424 Wilshire Boulevard When was the debt incurred?
Suite 1115
Los Angeles, CA 90025
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 4 only D1 contingent
D Debtor 2 only DO unliquidated
DO Debtor 1 and Debtor 2 only Oo Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is fora community CI student loans
debt O obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no D Debts to pension or profit-sharing plans, and other similar debts
O Yes I other. Specify Legal Fees
47
5 Ventura County Tax Collector Last 4 digits of account number $0.00
Nonpriority Creditor's Name
800 S. Victoria Ave. When was the debt incurred?
Ventura, CA 93009
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CO Debtor 4 only Wl contingent
C1 Debtor 2 only CO unliquidated
C1 Debtor 1 and Debtor 2 only CZ pisputed
i At least one of the debtors and another Type of NONPRIORITY unsecured claim:
check if this claim is for a community C1) Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No DO Debts to pension or profit-sharing plans, and other similar debts
OD Yes HI other. Specify Scheduled for notice purposes.
47
6 World Pay Last 4 digits of account number $0.00

Nonpriority Creditor's Name
PO Box 639726
Cincinnati, OH 45263-9726

Number Street City State Zip Code
Who incurred the debt? Check one.

CZ Debtor 4 only

CZ Debtor 2 only

C1 Debtor 1 and Debtor 2 only

W At least one of the debtors and another

D1 Check if this claim is for a community
debt

ts the claim subject to offset?

HI No

0 Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent
CI unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D student loans

DO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CZ] Debts to pension or profit-sharing plans, and other similar debts

Services rendered to Beauitful Girls, LLC;
HI other. Specify scheduled for notice purposes.

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Schedule E/F: Creditors Who Have Unsecured Claims

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47
7 World Pay Last 4 digits of account number $0.00
Nonpriority Creditor's Name
PO Box 639726 When was the debt incurred?
Cincinnati, OH 45263-9726
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only I contingent
CZ Debtor 2 only D unliquidated
CZ Debtor 1 and Debtor 2 only O Disputed
Wi At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community D Student toans
debt DO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Massage Envy Agoura
= Hills dba West Coast Queens, LLC;
CO Yes Other. Specify scheduled for notice purposes.
47
8 World Pay Last 4 digits of account number $0.00
Nonpriority Creditors Name
PO Box 639726 When was the debt incurred?
Cincinnati, OH 45263-9726
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Debtor 1 only @ contingent
C1) Debtor 2 only oO Unliquidated
CO pebtor 1 and Debtor 2 only D pisputed
Wl At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is for a community D student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D bebts to pension or profit-sharing plans, and other similar debts
Services rendered to Coastal Massage
Ventura, LLC; scheduled for notice
OD Yes a Other. Specify purposes.
47
9 World Pay Last 4 digits of account number $0.00
Nonpriority Creditor's Name
PO Box 639726 When was the debt incurred?

Cincinnati, OH 45263-9726

Number Street City State Zip Code
Who incurred the debt? Check one.

C1 Debtor 4 only

D Debtor 2 only

CD Debtor 1 and Debtor 2 only

At least one of the debtors and another

U1 check if this claim is for a community
debt

Is the claim subject to offset?

As of the date you file, the claim is: Check all that apply

a Contingent
DO unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

Hino 0 Debts to pension or profit-sharing plans, and other similar debts
Services rendered to Joyful Wellness, LLC;
O Yes I other. Specify scheduled for notice purposes.

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Schedule E/F: Creditors Who Have Unsecured Claims

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4.8
0 World Pay Last 4 digits of account number $0.00
Nonpriority Creditor's Name
PO Box 639726 When was the debt incurred?
Cincinnati, OH 45263-9726
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O pebtor 1 only a Contingent
C1 Debtor 2 only OO uniiquidated
CZ Debtor 1 and Debtor 2 only C1 pisputed
At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community C1 student toans
debt O obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No OC debts to pension or profit-sharing plans, and other similar debts
= __ Services rendered to Trinity Fifteen, LLC;
C1 Yes Other. Specify scheduled for notice purposes.
4.8
1 World Pay Last 4 digits of account number $0.00
Nonpriority Creditor's Name
PO Box 639726 When was the debt incurred?

Cincinnati, OH 45263-9726

Number Street City State Zip Code
Who incurred the debt? Check one.

O debtor 1 only
O Debtor 2 onty
OD Debtor 1 and Debtor 2 only

Hl at least one of the debtors and another

0 Check if this claim is fora community
debt

{s the claim subject to offset?

MI No

DO Yes

As of the date you file, the claim is: Check all that apply

a Contingent
D0 Unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

D student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

__ Services rendered to Faith Page, LLC;
Mother. Specify ‘scheduled for notice purposes.

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Attn: Dale Donohoe
28338 Constellation Road
Suite 900

Valencia, CA 91355

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.25 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

Wi part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

Attn: Row Zadeh |

14652 Ventura Blvd.
Sherman Oaks, CA 91403

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.1 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

I part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

clo Shin Yen Management Inc.
Attn: Brian Ho

3808 Grand Ave., Suite B
Chino, CA 91710

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.38 of (Check one): (part 4: Creditors with Priority Unsecured Claims *

part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

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Schedule E/F: Creditors Who Have Unsecured Claims

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Name and Address

Essex

PO Box 82752

Goleta, CA 93118-5752

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.33 of (Check one): OC Part 1: Creditors with Priority Unsecured Claims

@ part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

Jeffrey D. Montez, Esq.
Bower & Associates, APLC
PO Box 11748

Newport Beach, CA 92658

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.38 of (Check one): O Part 4: Creditors with Priority Unsecured Claims

@ part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

Office of Finance Special Desk Unit
200 N. Spring Street

Room 101

Los Angeles, CA 90012

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.29 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

Wi part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

Sam Yebri, Esq.

Merino Yebri LLP

1925 Century Park East, Suite 2100
Los Angeles, CA 90067

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.50 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address
Simi Gold Center
6006 Reseda Blvd.
Tarzana, CA 91356

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.52 of (Check one): OD Part 1: Creditors with Priority Unsecured Claims

Wl part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Name and Address

The Collection at Riverpark
Centercal Properties, LLC

2751 Park View Court, Suite 261
Oxnard, CA 93036

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.70 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

WB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims .
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ .
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
Gi. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. $ 5,969,825.68
6j. Total Nonpriority. Add lines 6f through 6i. Gj. $ 5,969,825.68

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 4 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ

(if known)

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases

OO Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

Wl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts

and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Name, Number, Street, City, State and ZIP Code

2.1

Name

Number Street

City State ZIP Code

2.2

Name

Number Street

City State ZIP Code

2.3

Name

Number Street

City State ZIP Code

2.4

Name

Number Street

City State ZIP Code

2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases

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Debtor 4 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(if known)

O Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write

your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

0 No
Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

0 No. Go to line 3.

Ml Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

OONo
yes.

In which community state or territory did you live?
Antwuan Hill

California

. Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent
Number, Street, City, State & Zip Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill

out Column 2.

Column 1: Your codebtor
Name, Number, Street, City, State and ZIP Code

3.1. 5077 Lankershim Health
Associates, LLC
11801 Pierce St., Suite 200
Riverside, CA 92505

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

O Schedule D, line

M@ Schedule E/F, line 4.14
1 Schedule G
Avalon Bay Communities, Inc.

3.2 Beautiful Girls, LLC
11801 Pierce St., Suite 200
Riverside, CA 92505

QO Schedule D, Jjine
M@ Schedule E/F, line 4.55

DO Schedule G
Small Business Administration

Official Form 106H

Schedule H: Your Codebtors

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

3.3 Beautiful Girls, LLC 0 Schedule D, line
11801 Pierce St., Suite 200 Hi Schedule E/F, line 4.1
Riverside, CA 92505 O Schedule G
14652-8 Ventura, LLC
3.4 Beautiful Girls, LLC OD Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.18
Riverside, CA 92505 C Schedule G
Bank of America, N.A.
3.5 Beautiful Girls, LLC 1 Schedule D, line
11801 Pierce St., Suite 200 Schedule E/F, line 4.65
Riverside, CA 92505 © Schedule G
Small Business Administration
3.6 Beautiful Girls, LLC DC Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.14
Riverside, CA 92505 C Schedule G
AT&T
3.7 Beautiful Girls, LLC C) Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.29
Riverside, CA 92505 UO Schedule G
City of Los Angeles
3.8 Beautiful Girls, LLC OD Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.76
Riverside, CA 92505 0 Schedule G
World Pay
3.9 Coastal Massage Channel Islands 0 Schedule D, line
ree iene St. Suite 200 M@ Schedule E/F, line__ 4.64
1001 Fierce ot, suite C Schedule G
Riverside, CA 92505 Small Business Administration
3.10 Coastal Massage Channel Islands CO Schedule D, line

Harbor, Inc.
11801 Pierce St., Suite 200
Riverside, CA 92505

MH Schedule E/F, line _ 4.32
0 Schedule G
Donahue Schriber Realty Group, L.P.

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Schedule H: Your Codebtors

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

3.11 Coastal Massage Channel Islands 0 Schedule D, line
fae Inc. St. Suite 200 M@ Schedule E/F, line 4.35
L007 Perce ot, suite OC Schedule G
Riverside, CA 92505 Frontier
3.12 Coastal Massage Oxnard, Inc. 1 Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.63
Riverside, CA 92505 C Schedule G
Small Business Administration
3.13 Coastal Massage Oxnard, Inc. DO Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.70
Riverside, CA 92505 C Schedule G —_—
SOCM I, LLC
3.14 Coastal Massage Oxnard, Inc. M@ Schedule D, line 2.2
11801 Pierce St., Suite 200 C Schedule E/F, line
Riverside, CA 92505 C Schedule G
U.S. Bank
3.15 Coastal Massage Oxnard, Inc. O Schedule D, line
11801 Pierce St., Suite 200 Ml Schedule E/F, line 4.34
Riverside, CA 92505 O Schedule G
Frontier
3.16 Coastal Massage Ventura Inc. 0 Schedule D, line
11801 Pierce St., Suite 200 Hl Schedule E/F, line 4.60
Riverside, CA 92505 C Schedule G
Small Business Administration
3.17 Coastal Massage Ventura Inc. O Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.13
Riverside, CA 92505 O Schedule G
AT&T
3.18 Coastal Massage Ventura Inc. OD Schedule D, line

11801 Pierce St., Suite 200
Riverside, CA 92505

Mi Schedule E/F, line 4.30

OScheduleG_
City of Ventura

Official Form 106H

Schedule H: Your Codebtors

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

3.19 Coastal Massage Ventura Inc. O Schedule D, line
11801 Pierce St., Suite 200 Ml Schedule E/F, line _4.78
Riverside, CA 92505 C Schedule G
World Pay
3.20 Eleven Eight, LLC Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.24
Riverside, CA 92505 O Schedule G TO
Beauchamp Family LLC
3.21 Eleven Eight, LLC O Schedule D, line
11801 Pierce St., Suite 200 M™@ Schedule E/F, line 4.19
Bank of America, N.A.
3.22 Eleven Eight, LLC 1 Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.36
Riverside, CA 92505 CO Schedule G
Frontier
3.23 Faith Page LLC O Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.56
Riverside, CA 92505 C Schedule G
Small Business Administration
3.24 Faith Page LLC O Schedule D, line
11801 Pierce St, Suite 200 ™@ Schedule E/F, line 4.38
Riverside, CA 92505 OC Schedule G
Golden Spectrum Property, LLC
3.25 Faith Page LLC CO Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.24
Riverside, CA 92505 CO Schedule G
Bank of America, N.A.
3.26 Faith Page LLC 0 Schedule D, line

11801 Pierce St., Suite 200
Riverside, CA 92505

@ Schedule E/F, line 4.81
OScheduleG
World Pay

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

3.27 Joyful Wellness, LLC DO Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.61
Riverside, CA 92505 C Schedule G —
Small Business Administration
3.28 Joyful Wellness, LLC OD Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.40
Riverside, CA 92505 CO Schedule G TT
Macerich Buenaventura L.P.
3.29 Joyful Wellness, LLC Oj Schedule D, line
11801 Pierce St., Suite 200 ™@ Schedule E/F, line 4.17
Riverside, CA 92505 C Schedule G 7
Bank of America, N.A.
3.30 Joyful Wellness, LLC DO Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.79
Riverside, CA 92505 C Schedule G
World Pay
3.31 Joyful Wellness, LLC C Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.75
Riverside, CA 92505 C Schedule G
Ventura County Tax Collector
3.32 Joyfully Gifted, Inc. CJ Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.54
Riverside, CA 92505 CO Schedule G
Small Business Administration
3.33 Joyfully Gifted, Inc. Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.7
Riverside, CA 92505 C Schedule G
American Express
3.34 Joyfully Gifted, Inc. CO Schedule D, line

11801 Pierce St., Suite 200
Riverside, CA 92505

M@ Schedule E/F, line 4.26
1 Schedule G
Capital One N.A

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Schedule H: Your Codebtors

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

3.35 Joyfully Gifted, Inc. 2 Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.16
Riverside, CA 92505 C Schedule G TT
Bank of America, N.A.
3.36 Joyfully Gifted, Inc. O Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.66
Riverside, CA 92505 CO Schedule G TT
Small Business Administration
3.37 Joyfully Gifted, Inc. O Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.67
Riverside, CA 92505 CI Schedule G 7
Small Business Administration
3.38 Joyfully Gifted, Inc. (1 Schedule D, line
11801 Pierce St, Suite 200 M@ Schedule E/F, line _ 4.23
Riverside, CA 92505 OD Schedule G
Bank of America, N.A.
3.39 Lawrence Girls, LLC O Schedule D, line
11801 Pierce St., Suite 200 M™@ Schedule E/F, line 4.33
Riverside, CA 92505 OC Schedule G
Essex Monarch Santa Monica
3.40 Lawrence Girls, LLC 0 Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.68
Riverside, CA 92505 C Schedule G
Small Business Administration
3.41 Trinity Fifteen, LLC O Schedule D, line
11801 Pierce St. M@ Schedule E/F, line _ 4.58
Riverside, CA 92505 C Schedule G —
Small Business Administration
3.42 Trinity Fifteen, LLC CO] Schedule D, line

11801 Pierce St.
Riverside, CA 92505

I Schedule E/F, line 4.25
O Schedule G
Bridgeport Marketplace, LLC

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Column 1: Your codebtor

Column 2: The creditor to whom you owe the debt
Check all’schedules that apply:

3.43 Trinity Fifteen, LLC OD Schedule D, line
11801 Pierce St. M@ Schedule E/F, line 4.22
Riverside, CA 92505 C Schedule G
Bank of America, N.A.
3.44 Trinity Fifteen, LLC O Schedule D, line
11801 Pierce St. M@ Schedule E/F, line 4.12
Riverside, CA 92505 C Schedule G —_
AT&T
3.45 Trinity Fifteen, LLC O Schedule D, line
11801 Pierce St. M@ Schedule E/F, line _ 4.80
Riverside, CA 92505 CJ Schedule G
World Pay
3.46 West Coast Baby, LLC O Schedule D, line
11801 Pierce St., Suite 200 lM Schedule E/F, line 4.59
Riverside, CA 92505 O Schedule G
Small Business Administration
3.47 West Coast Baby, LLC 1 Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.20
Riverside, CA 92505 C Schedule G
Bank of America, N.A.
3.48 West Coast Baby, LLC O) Schedule D, line
11801 Pierce St., Suite 200 HM Schedule E/F, line 4.69
Riverside, CA 92505 C Schedule G
Small Business Administration
3.49 West Coast Baby, LLC OC Schedule D, line
11801 Pierce St., Suite 200 M@ Schedule E/F, line 4.50
Riverside, CA 92505 O Schedule G
ROIC California LLC
3.50 West Coast Queens, LLC OJ Schedule D, line

11801 Pierce St., Suite 200
Riverside, CA 92505

M@ Schedule E/F, line 4.77

D Schedule G
World Pay

Official Form 106H

Schedule H: Your Codebtors Page 7 of 7
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UMIAMCalcmlelcolsaarciilelamcomtel-sant)

Debtor 1 Shamicka Lawrence

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ Check if this is:
(If known) OD An amended filing

O Asupplement showing postpetition chapter
13 income as of the following date:

Official Form 106| MMTDD/YYYY
Schedule I: Your Income 425

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

information.
If you have more than one job, Hl Employed Ml Employed
attach a separate page with Employment status Oo Oo
information about additional Not employed Not employed
employers. .
Ploy Occupation Entrepreneur Entrepreneur
Include part-time, seasonal, or .
self-employed work. Employer's name Joyfully Gifted, Inc. Self Employed
Oath may Maude student Employer's address 11364 Estate Court
7 HE applies. Riverside, CA 92503
How long employed there? 4 6
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. §$ 0.00 $ 9.00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 + 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 0.00 $ 0.00

Official Form 1061 Schedule I: Your Income page 1
Debtor 1

10.

11.

12.

13.

Copy line 4 here 4 $ 0.00 0.00
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. §$ 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. §$ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. Insurance 5e. $ 0.00 $ 0.00
5f. Domestic support obligations Sf 0.00 § 0.00
5g. Union dues 5g. $ 0.00 §$ 0.00
5h. Other deductions. Specify: 5h.t $ 0.00 + $ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. §$ 0.00 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 =6§ 0.00 6§$ 0.00
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. $ 0.00 $ 7,649.52
8b. Interest and dividends 8b. $ 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8. §$ 0.00 «6§$ 0.00
8d. Unemployment compensation 8d.  §$ 0.00 $ 0.00
8e. Social Security 8e. $ 0.00 $ 0.00
8f. | Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: ef. 6 $ 0.00 $ 0.00
8g. Pension or retirement income 8g. $ 0.00 6$ 0.00
8h. Other monthly income. Specify: 8h+ $ 0.00 + 3 0.00
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00] |$ 7,649.52
Calculate monthly income. Add line 7 + line 9. 10. |$ 0.00/+1$  7,649.52/=|$ 7,649.52
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies $ _—7,649.52)

Combined

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Shamicka Lawrence

Case number (if known)

6:23-bk-15163-WJ

Do you expect an increase or decrease within the year after you file this form?

a
Oo

No.

monthly income

Yes. Explain: |

Official Form 1061

Schedule |: Your Income

page 2
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Debtor 1 Shamicka Lawrence , Check if this is:

C) An amended filing
Debtor 2  Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA MM /DD/YYYY

Case number 6:23-bk-15163-WJ

(If known)

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household

1. Is this a joint case?

HI No. Go to line 2.
C) Yes. Does Debtor 2 live in a separate household?

ONo
O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? MH No

Do not list Debtor 1 and O Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the O No
dependents names. D Yes
C1 No
0 Yes
C1 No
0 Yes
ONo
O Yes
3. Do your expenses include HNo

expenses of people other than
yourself and your dependents?

Estimate Your Ongoing Monthly Expenses

O Yes

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your income
(Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage 0.00
payments and any rent for the ground or lot. . $ :

If not included in line 4:

4a. Real estate taxes 4a. $ 780.00
4b. Property, homeowner's, or renter's insurance 4b. $ 640.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 400.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Shamicka Lawrence

6.

16.

17.

18.
19.

20.

21.

22.

23.

24,

Case number (if known)

6:23-bk-15163-WJ

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

No.

Utilities:
6a. Electricity, heat, natural gas 6a. $ 1,600.00
6b. Water, sewer, garbage collection 6b. $ 400.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 400.00
6d. Other. Specify: 6d. $ 0.00
Food and housekeeping supplies 7. $ 800.00
Childcare and children’s education costs 8. $ 0.00
Clothing, laundry, and dry cleaning 9. §$ 0.00
Personal care products and services 10. $ 300.00
. Medical and dental expenses 11. $ 100.00
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 0.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 300.00 .
Charitable contributions and religious donations 14. $ 0.00
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 500.00
15b. Health insurance 15b. $ 0.00
15c. Vehicle insurance 15c. $ 0.00
15d. Other insurance. Specify: 15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $ 0.00
Installment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 2,908.00
17b. Car payments for Vehicle 2 17b. $ 0.00
17c. Other. Specify: 17c. $ 0.00
17d. Other. Specify: 17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 1061). 18. §$ 0.00
Other payments you make to support others who do not live with you. $ 0.00
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $ 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner's, or renter's insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
Other: Specify: Non-Debtor Spouse's separate expenses. See
Attachment. 21. +$ 8,300.00
Calculate your monthly expenses
22a. Add lines 4 through 21. $ 17,428.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 17,428.00
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 7,649.52
23b. Copy your monthly expenses from line 22c above. 23b. -$ 17,428.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. ” 23c. | $ “9,778.48

CI Yes. Explain here: (1) Debtor's non-debtor spouse maintains his own separate residence which he owned since

prior to 2017 marriage and (2) has additional monthly expenses see attachment.

Official Form 106J Schedule J: Your Expenses

page 2

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In re Shamicka Lawrence
USBC Case No. 6:23-bk-15163-WJ

Non-Debtor Spouse Income and Expenses
Attachment to Schedule I and Schedule J21

Schedule I
Non-Debtor Spouse Income

Income of Non-Debtor Spouse derives from his wholly owned logistics company ACE Elite
Services Inc., which has gross income of about $43,500 from which he nets $7,649.53 after
payments to subcontractors ($30,450) and business vehicle leases ($4,889), but before payment
of the expenses listed below..!

Schedule J
Non-Debtor Spouse Expenses
Non-Debtor Spouse leases a condominium from which ACE Elite Services Inc. operates and

which is used for such business purposes. Rent on the condominium is $4,500 and associated
utilities are $1,800 per month. See footnote No. 1.

Income from operation of business $7,649.52
Rental of condominium (Business) $4,500.00
Utilities (Business) $1,800.00
TV/Phone & Internet (Condominium) $700.00
Parking (Condominium) $300.00
Food/Medical/Etc. $1,000.00
Total Expenses: $8,300.00

Total Income: $7,649.52

Total monthly net income $-650.48

* Debtor and non-debtor spouse married in 2022. Each has maintained their financial affairs
separately, and Debtor has no personal knowledge of her husband’s financial affairs, and has
neither reviewed nor had access to documents regarding same. All information regarding non-
debtor spouse financial affairs was provided by non-debtor spouse.
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PST AWA TCM thier Cte Some ERLE an el CLM hay
Debtor 1 Shamicka Lawrence
“First Name Viddie Name Tast Name
Debtor 2
(Spouse i, filing) “First Name Middie Name Last Name

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(known) (1 Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42/8

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a

Did you pay or agree to pay someone who Is NOT an attomey to help you fill out bankruptcy forms?

Bm No
[O Yes, Name of person , Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)
Under perjury, | declare | have read the summary and schedules filed with this declaration and
that they d co!
x : x
Shamicka Lawrence Signature of Debtor 2
Signature of Debtor 1
Date November _, 2023 Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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IDM LOM UOlim lace) uar-ialesam com (o(-aeldha'ma ze) el me er-l-1om

Debtor 1 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(if known) ( Check if this is an

amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

®@ Married
0 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

H No

O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

O No
M Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1064).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
O No
Yes. Fill in the details.

Debtor 1 : Debtor 2 -
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until [] Wages, commissions, $38,997.00 (1 Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
Ml Operating a business CZ Operating a business

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1
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Debtor! Shamicka Lawrence Case number (ifknown) 6:23-bk-15163-WJ
Debtor 1 . Debtor 2°
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For last calendar year: CO Wages, commissions, $52,000.00 (© Wages, commissions,
(January 1 to December 31, 2022 ) bonuses, tips bonuses, tips
@ Operating a business CZ Operating a business
For the calendar year before that: C wages, commissions, $52,000.00 (1 Wages, commissions,
(January 1 to December 31, 2021 ) bonuses, tips bonuses, tips
Operating a business DO Operating a business
5. Did you receive any other income during this year or the two previous calendar years?

Include income regardiess of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M@ No
OD Yes. Fill in the details.
Debtor 1 . yo . Debtor 2 |: : lat he
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)

exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6.

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

HI No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
MNo. Gotoline7.

O Yes List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

D No. Go to line 7.

O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for...
paid still owe

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
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Debtor 1 Case number (if known)

Shamicka Lawrence 6:23-bk-15163-WJ

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
alimony.

M@ No
O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you — Reason for this payment
paid still owe
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.
M@ No

C1 Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount

paid

Amount you
still owe

Reason for this payment
Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No

Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case

Case number

Creditors Adjustment Bureau, Inc. Civil - Collections Los Angeles Superior Court = pending

vs. West Coast Baby, LLC, et al. Chatsworth Courthouse C on appeal

20CHLC12017 9425 Penfield Ave. O Concluded
Chatsworth, CA 91311

Essex Monarch Santa Monica Civil - Collection Los Angeles Superior Court 0 Pending

Apartments, L.P. v. Lawrence Girls, Santa Monica Courthouse CJ On appeal

LLC, et al. 1725 Main Street a

22SMCV00559 Santa Monica, CA 90401 Concluded

ROIC California v. West Coast Civil Ventura Superior Court Ml Pending

Baby, et al. 800 S. Victoria Avenue Cl On appeal

56-2020-00543906-CU-BC-VTA Ventura, CA 93009 CO Concluded

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

M No. Go to line 11.
O Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M No
0 Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was

taken

Amount

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Debtor1 Shamicka Lawrence Case number (ifknown) 6:23-bk-15163-WJ

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a

court-appointed receiver, a custodian, or another official?
M@ No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
O No

HM Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and

Address:

lyanna Lawrence Bracelet §/2023 $2,000.00
Person's relationship to you: Daughter

Amara Lawrence Bracelet 07/2023 $2,000.00

Person's relationship to you: Daughter

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

HM No
O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed
Charity’s Name

Address (Number, Street, City, State and ZIP Code)

List Certain Lc

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

HM No
O Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss
how the loss occurred Include the amount that insurance has paid. List pending SS

insurance claims on line 33 of Schedule A/B: Property.
List Certain Payments or Transfers

Date of your Value of property

lost

16. Within 4 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
M@ Yes. Fill in the details.
Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
FLP Law Group LLP Bankruptcy legal services - Money 08/21/2023 $14,067.50
1875 Century Park East, Suite 2230

Los Angeles, CA 90067
www. fipllp.com

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor! Shamicka Lawrence Case number (ifknown) 6:23-bk-15163-WJ
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
FLP Law Group LLP Other legal services - Money 11/10/2022 $7,000.00

1875 Century Park East, Suite 2230
Los Angeles, CA 90067

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

HE No
O Yes. Fill in the details.
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

O No

M Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

Joyfully Gifted, Inc. $10,000.00 Capital contribution. 08/22/2023
11801 Pierce St., Suite 200
Riverside, CA 92505

Sole Owner

Joyfully Gifted, Inc. $4,000.00 Capital contribution. 08/24/2023
11801 Pierce St., Suite 200
Riverside, CA 92505

Sole Owner

Joyfully Gifted, Inc. $1,000.00 Capital contribution. 09/15/2023
11801 Pierce St., Suite 200
Riverside, CA 92505

Sole Owner

Joyfully Gifted, Inc. $3,000.00 Capital contribution. 11/02/2023
11801 Pierce St., Suite 200
Riverside, CA 92505

Sole Owner

Coastal Massage Oxnard Inc. $8,000.00 Capital contribution. 09/06/2023
11801 Pierce Street, Suite 200
Oxnard, CA 93036

Sole Owner

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor1 Shamicka Lawrence Case number (itknown) 6:23-bk-15163-WJ
Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you
Coastal Massage Oxnard, Inc. $8,000.00 Capital contribution. 09/15/2023
11801 Pierce St., Suite 200
Riverside, CA 92505

Sole Owner

Coastal Massage Channel Islands $8,000.00 Capital contribution. 09/15/2023
Harbor, Inc.

11801 Pierce St., Suite 200

Riverside, CA 92505

Sole Owner

5077 Lankershim Health $15,000.00 Capital contribution. 09/06/2023
Associates, LLC

11801 Pierce St., Suite 200

Riverside, CA 92505

Sole Owner

5077 Lankershim Health $5,000.00 Capital contribution. 10/04/2023
Associates, LLC

11801 Pierce St., Suite 200

Riverside, CA 92505

Sole Owner

5077 Lankershim Health $1,000.00 Capital contribution. 11/02/2023
Associates, LLC

11801 Pierce St., Suite 200

Riverside, CA 92505

Sole Owner

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

Mi No
O Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HM No

CO Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer

transferred

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

O No
Yes. Fill in the details.
Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?
State and ZIP Code}
Bank of America None Empty O1No

10297 Magnolia Ave.

es Yes
Riverside, CA 92503
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
HM No
Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code)

identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.
HM No
O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

ume Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Hl sEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or

toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No
Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

H No
O1 Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HM No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code)

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
DA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Mf A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership

Man officer, director, or managing executive of a corporation

HH An owner of at least 5% of the voting or equity securities of a corporation
C1 No. None of the above applies. Go to Part 12.

@ Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number

Address
(Number, Street, City, State and ZIP Code)

Name of accountant or bookkeeper

Do not include Social Security number or ITIN.

Dates business existed

Beautiful Girls, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - Present
Faith Page, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - Present
Trinity Fifteen, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - Present
Joyfully Gifted, Inc. Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - Present
Eleven Eight, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - Present
West Coast Baby, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 04/2018 - 07/2020
Joyful Wellness LLC Day Spa EIN: XX-XXXXXXX

11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 42/2018 - 07/2023
Coastal Massage Ventura, Inc. Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200

Riverside, CA 92505 Craig Martin From-To 01/2019 -07/2023

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor! Shamicka Lawrence Case number (itknown) _6;23-bk-15163-WJ
Business Name Describe tho nature of the business Employer Identification number
Ansrese Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed
Coastal Massage Oxnard Inc. Day Spa EIN: XX-XXXXXXX
11801 Pierce Street, Suite 200
Oxnard, CA 93036 Craig Martin From-To 01/2019 - Present
Coastal Massage Channel Islands Day Spa EIN: XX-XXXXXXX
Harbor, Inc.
11801 Pierce St., Suite 200 Craig Martin From-To 01/2019 - Present
Riverside, CA 92505
Lawrence Girls, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200
Riverside, CA 92505 Craig Martin From-To 42/2019 - 12/2022
West Coast Queens, LLC Day Spa EIN: XX-XXXXXXX
11801 Pierce St., Suite 200
Riverside, CA 92505 Craig Martin From-To 42/2021 - 12/2022
5077 Lankershim Health Day Spa EIN: XX-XXXXXXX
Associates, LLC
11801 Pierce St., Suite 200 Craig Martin From-To 42/2021 - Present

Riverside, CA 92505

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

O No
Yes. Fill in the details below.

Name Date Issued

Address
(Number, Street, City, State and ZIP Code)

Small Business Administration December, 2021
409 3rd Street SW
Washington, DC 20024

Misc. statements to various TBD
landlords

ETRE Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankru case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

62; 1341, 16 3571.

Signature of Debtor 2

Signature of Debtor 1

Date November 17, 2023 Date
Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
Hi No
O Yes
Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
No
0 Yes. Name of Person _ Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Marc A. Lieberman

1875 Century Park East, Ste 2230
Los Angeles, CA 90067

(310) 284-7350

157318 CA

(310) 432-5999
marc.lieberman@fipllp.com

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

In re: Case No.: 6:23-bk-15163-WJ

Shamicka Lawrence CHAPTER: 7

Debtor's). DEBTOR’S ATTORNEY’S
DISCLOSURE OF COMPENSATION
ARRANGEMENT IN INDIVIDUAL
CHAPTER 7 CASE
([LBR 2090-1(a)(3)]

1. Compensation Arrangement. Pursuant to 11 U.S.C. § 329(a), FRBP 2016(b), and LBR 2090-1 (a)(3) and (4),
| disclose that:

a. | am the attorney for the Debtor.

b. Compensation that was paid to me, within one year before the petition was filed, or was agreed to be paid to me, for services
rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this bankruptcy case, is as

follows:

i. For legal services, | have agreed to accept D an hourly rate of $ ora ll flat fee of $ 13,729.50
ii. Prior to filing this disclosure | have received $__13,729.50

iii. The balance due is $0.00

2. Source of Compensation Paid Postpetition (Postpetition Compensation).
a. Already Paid. The source(s) of the Postpetition Compensation paid to me was:

@ Debtor Ol Other (specify):

b. To be Paid. The source(s) of the Postpetition Compensation to be paid to me is:
@ Debtor O Other (specify):

3. Sharing of Compensation Paid Postpetition.

H | have not agreed to share Postpetition Compensation with any other person unless they are members or regular associates of
my law firm within the meaning of FRBP 9001(10).

C | have agreed to share Postpetition Compensation with other person or persons who are not members or regular associates of
my law firm within the meaning of FRBP 9001(10). Attached as Exhibit A is a copy of the agreement and a list of the names of
the people sharing in the Postpetition Compensation.

4. Limited Scope of Services. A limited scope of appearance is permitted under LBR 2090-1(a)(3), unless otherwise required by
the presiding judge. In return for the fee disclosed above, | have agreed to provide the required legal services indicated below in

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015 Page 1 F 2090-1.CH7.ATTY.COMP.DISCLSR
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paragraph “a”, and, if any are indicated, the additional services checked in paragraph “4.b".

a. Services required to be provided:

i. Analysis of the Debtor's financial situation, and advice to the Debtor in determining whether to file a bankruptcy petition;

ii. Preparation and filing of any petition, lists, schedules and statements and any other required case
commencement documents; and
iii, Representation of the Debtor at the initial § 341(a) meeting of creditors.
b. 0 Additional legal services | will provide:
i. O/Any proceeding related to relief from stay motions.
ii. O Any proceeding involving an objection to the Debtor's discharge pursuant to 11 U.S.C. § 727.
ii, Any proceeding to determine whether a specific debt is nondischargeable under 11 U.S.C. § 523.
iv. O Reaffirmation of a debt.
v. O Any lien avoidance under 11 U.S.C. § 522(f)
vi. O Other (specify):
5: If in the future | agree to represent the Debtor in additional matters, | will complete and file the Attorney's Disclosure of
Postpetition Compensation, LBR form F 2016-1.4.ATTY.COMP.DISCLSR.

DECLARATION OF ATTORNEY FOR THE DEBTOR
o 4
ns of of agreeme voF arranigement for payment to me
e—ye—{
Lif ee /
(te

x ‘ ‘s
Z LL LA
Signature of attomey for the/Debtor

Marc A: Lieberman >

L

| declare under penalty of perjury that the foregoing is comp
for representation of the Debtor in this bankruptcy case eo

Date: November 17, 2023

Printed name of attomey
FLP Law Group LLP
Printed name of law firm

DECLARATION OF THE DEBTOR

IWwe declare under penalty of perjury that my attorney has explained to me/us the limited scope of representation as outlined
above. I/we understand that Ive have paid or agreed to pay solely for the required services listed in paragraph 4a, and the additional
| services (if any) that are checked off in paragraph 4b above, and that I/we am representing myself/ourselves for any other
proceedings unless a new agreement is reached with an attorney.

Date: fran Date:

~— Signature of Debtor 1 Signature of Debtor 2 (Joint Debtor) (if applicable)
Shamicka Lawrence
Printed name of Debtor 1 Printed name of Debtor 2
This form is y. It has been for use in the United States Bankruptcy Court for the Central District of California

December 2016 Page 2 F 2090-1.CH7.ATTY.COMP.DISCLSR
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B2030 (Form 2030) (12/15)
United States Bankruptcy Court

Central District of California
Inre Shamicka Lawrence Case No. 6:23-bk-15163-WJ

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept $ 13,729.50
Prior to the filing of this statement I have received $ 13,729.50
Balance Due $ 0.00

2. The source of the compensation paid to me was:

H Debtor OO Other (specify):

3. | The source of compensation to be paid to me is:

HB Debtor O Other (specify):

4, Hi {[ have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

C1 Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
[Other provisions as needed]
Pre-filing counseling, filing fee, pre and post credit counseling on-line courses and other costs.

aoop

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtor in any relief from stay actions or any other adversary proceedings, 2004 exams,
objections to claims, and contested matters.

CERTIFICATION fo

Jf

{/ J pe AS «ot .
I certify that the foregoing is a complete statement of any agreement érrafhgement for payment to mefortepresentation of the debtor(s) in
this bankruptcy proceeding. Jo SIS LG" A.

oe

f' J AVA wo A

November 17, 2023 LS If LL“ LZ ee

Date (Mlare’A. Lieberman,
Signature of Attoyney
FLP Law Group LLP
1875 Century Park East, Ste 2230
Los Angeles, CA 90067
(310) 284-7350 Fax: (310) 432-5999
marc.lieberman@flpllp.com

Name of law firm

Zz

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SPS role lo) on

Debtor 14 Shamicka Lawrence

Debtor 2
(Spouse, if filing)

@ 1. There is no presumption of abuse

D2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court for the: Central District of California

Case number 6:23-bk-15163-WJ
(if known) (3. The Means Test does not apply now because of
qualified military service but it could apply later.

OO Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
O Not married. Fill out Column A, lines 2-11.
C2) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
C) Married and your spouse is NOT filing with you. You and your spouse are:
C1 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

CZ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case..11_U.S. C. § .
101(10A). For example, if you.are: filing.on. September 15, the 6-month period would:bé March: through: ‘August 31. If the:amount of your monthly income. varied: during :
the 6 months, add the.income for all'6 months arid divide the total by 6.:Fill in the. result: Do ‘not include any income amount more than once. For example, if both =
spouses own the same rental property, put the income from that property in one column only: If you have ‘nothing to report for'any’line, write $0: in the'space:

Column A Column B
“Debtor 1 Debtor 2 or
: -non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

payroll deductions). $
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ $

4. Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $

5. Net income from operating a business, profession, or farm

Debtor 1
Gross receipts (before all deductions) $
Ordinary and necessary operating expenses $
Net monthly income from a business, profession, or farm $ Copy here -> $ $
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $
Ordinary and necessary operating expenses $
Net monthly income from rental or other real property $ Copy here -> $ $
7. Interest, dividends, and royalties . $ $

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income . page 1
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Casa number (fknown) _6:23-bk-15163-WJ

Desc

Detor1 Shamicka Lawrence

8. Unemployment compensation
Do not enter the amount if you contend that the amount received was a benefit under

the Social Security Act. Instead, list it here:

For you $
: For your spouse $

9. Pension or retirement Income. Do not include any amount received that was a

benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. if you received any retired
pay pald under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled $ $

if retired under any provision of title 10 other than chapter 61 of that title.

10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits recelved under the Social Security Act; payments
received as a victim of a war crime, a crime against humanity, or Intemational or
domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
United States Government In connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If necessary, list other
sources on a separate page and put the total below..

: $

ef
A

Total amounts from separate pages, if any. +

11. Calculate your total current monthly income. Add lines 2 through 10 for $ 415

each column. Then add the total for Column A to the total for Column B.

Lats) Bae Determine Whether the Means Test Applies to You

Total current monthly

42, Calculate your current monthly Income for the year. Follow these steps:

42a. Copy your total current monthly income from line 11 Copy line 14 here=>

Multiply by 12 (the number of months in a year)
12b. The resuit is your annual income for this part of the form

13. Calculate the median family Income that applles to you. Follow these steps:
Fill in the state in which you live.

Fill in the number of people in your household. Cd

Fil! in the median familly income for your state and size of household.
To find a list of median income amounts, go online using the link specified In the separate instructions

for this form. This list may also be available at the bankruptcy clerk's office.

44. How do the lines compare?

44a. 1 Line 12bis tess than or equal to line
Go to Part 3. Do NOT fill out or file Official Form 122A-2.

14b. [0 Line 12b is more than line 13. On the top of page
Go to Part 3 and fill out Form 122A-2.

42b.

13.

13. On the top of page 1, check box 1, There is no presumption of abuse.

x 12

4, check box 2, The presumption of abuse is determined by Form 122A-2.

MM/DD /YYYY
Offical Form 122A-1 Chapter 7 Statement of Your Current Monthly income

ivy that the Informalion on this statement and in any attachments ls true and correct.

000075

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Debtor1 Shamicka Lawrence

Case number (if known) 6:23-bk-15163-WJ

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

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Debtor 1 Shamicka Lawrence

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Central District of California

Case number 6:23-bk-15163-WJ 0 Check if this is an amended filing
(if known)

Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 12145

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 1).

MENo. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
supplement with the signed Form 122A-1.

0 Yes. Go to Part 2.

Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
ONo. Goto line 3.

0 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

ONo. Goto line 3.

O Yes. Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
C) No. Complete Form 122A-1. Do not submit this supplement.
O) Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
OONo. Complete Form 122A-1. Do not submit this supplement.
Ol Yes. Check any one of the following categories that applies:

0 Iwas called to active duty after September 11, 2001, for at least
90 days and remain on active duty.

OI was called to active duty after September 11, 2001, for at least
90 days and was released from active duty on :
which is fewer than 540 days before | file this bankruptcy case.

QO 1am performing a homeland defense activity for at least 90 days

Oi performed a homeland defense activity for at least 90 days,
ending on , which is fewer than 540 days before |
file this bankruptcy case.

Official Form 122A-1Supp Statement of Exemption from Presumption of Abuse Under § 707(b)(2) page 1
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Debtor 1 Shamicka Lawrence

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court forthe: © CENTRAL DISTRICT OF CALIFORNIA

Case number 6:23-bk-15163-WJ
(if known) O) Check if this is an

amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 42/15

If you are an individual filing under chapter 7, you must fill out this form if:
I creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

Creditors Mercedes - Benz Financial CO Surrender the property. O1No
name: Services CJ Retain the property and redeem it.
Ml Yes
CZ Retain the property and enter into a
Description of 2021 Mercedes G-Wagon 17,198 Reaffirmation Agreement.
property miles i in}:
securing debt: Co-owned with Coastal lf Retain the property and [explain]:
Massage Oxnard Inc. which Debtor to remain current on installment
made down payment. payments.
Creditors U.S. Bank C1 Surrender the property. ONo
name: OC Retain the property and redeem it.
D Retain the property and enter into a Yes
Description of 2022 Tesla X 15,150 miles Reaffirmation Agreement.
property Down payment and monthly M@ Retain the property and [explain]:

securing debt, Payments made by Coastal

Debtor to remain current on installment
Massage Oxnard, Inc.

payments.

List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.

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Debtor1 Shamicka Lawrence Case number (known) _6:23-bk-15163-WJ

You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C, § 366(p)(2).

EERE Sign Below
@ indicated my intention about any property of my estate that secures a debt and any personal
x
Signature of Debtor 2
Date November ___, 2023 Date
Official Form 108 Statement of Intention for Individuals Filing Undor Chapter 7 page 2

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